Case 1:12-cv-O4992-KBF Document 336 Filed 02/16/18 Page 1 of 2

Case 1:12~0\/-04992-1<13|= Document 335 Filed 02/16/18 Page l of 2

The Chrys|er Building

MU 8 ES &S l N 6 ER |_|_P 405 Lexingion Avenue, NY, NY 10174-1299

TeE: 212.554.7800 Fax: 212.554.7700
www.mosessinger.com

 

Robert D. Li|lienstein

Direct Dia[: 212.554.7807

Fax: 917.206.4307

E-Mai|: r|i|iienstein@mosessinger.com

February 16, 2018

Via ECF

Hon. Katherine B. Forrest

United States District Court

500 Pearl Street, Roorn 2230

NeW York, New York 10007-1312

Re: Ritchie v. North em Leasing Systems, Inc. et al;
No. 12-cv-4992 KB

Dear Judge Forrest:

This office represents Def`endants Northern Leasing Systerns, Inc., Lease Finance Group,
LLC, Ricardo BroWn, Robert Taylor, Joseph I. Sussman, loseph I. Sussrnan, P.C., and Jay Cohen
(“Movants”) in the above action. l arn Writing to provide the Court With a further update on the
status of` the bankruptcy case filed by Chittur & Associates, P.C. (“C&A”), Case no. 16-22075-
rdd, United States Bankruptcy Court for the Southern District of`NeW York, and its effect on the
motion for sanctions filed by Movants (EC]F No. 287) (the “Sanctions Motion”). That motion
was administratively terminated and held in abeyance on December 14, 2017 pending the
Court’s receipt of status reports from the parties. (ECF No. 330). Following receipt of` my initial
status report, the Court approved Movants request that the Sanctions Motion be held in abeyance
until certain motions Were decided in the Bankruptcy Court. (ECF No. 334).

As indicated in my January 24, 2018 status report (ECF No. 334), C&A filed a motion to
voluntarily dismiss the C&A Bankruptcy on Decernber 7, 2017. In Movants’ opposition to that
mction, Movants requested either that the motion be denied or that the C&A bankruptcy case be
converted from a case under Chapter ll to one under Chapter 7 of` the Bankruptcy Code. On
February 13, 2018, the Bankruptcy Court (Hon. Robert D. Drain, U.S.B.J.) issued an order
converting the C&A bankruptcy from Chapter 11 to Chapter 7 and appointed a Chapter 7 trustee.
(copy enclosed).

On January 23, 2018, Movants filed a Motion For Relief Frorn the Automatic Stay to
permit Movants to iiquidate their claim against C&A in this Court. That motion Was originally
returnable on February 13, 2018, but Was adjourned to April 13, 2018.

3904792vi 01 108?..0E51

Case 1:12-cv-O4992-KBF Document 336 Filed 02/16/18 Page 2 of 2

Case 1:12-c\/-04992-KBF Document 335 Filed 02/16/18 Page 2 of 2

Hon. Katherine B. Forrest
February 16, 2018
Page 2

Because Movants have not yet obtained relief from the automatic stay, Movants ask the
Court to continue to hold the Sanctions Motion in abeyance until l\/lovants’ motion f`or relief
from the stay in the C&A bankruptcy is decided by the Bankruptcy Court.

cc: VIA ECF
Thomas J . Kavaler, Esq.
Scott E. Silberf`ein, Esq.
Krishnan S. Chittur, Esq.

3904'.¢'92\'1 01 1082.0E51

Respectfully submitted,
MOSES & SINGER LLP
/s/

Robert D. Lillienstein

z
@"/
,,_»_,~,..,--'MM

éd\`p§;i.€i/d-“'i;@`~»:» ig.fa~~v~¢&nat § ‘

 

TL
<pm!¢~{__, St,,_,o_{t ip./sw"»€-~ swaim

Y€n»~'f\»~i €»¢»"ii*»- "`“€’\"” L°:C;`

¢U/\_e_-“\ 6&()\/€§\ gag g_dié_ d

